198 F.3d 607 (6th Cir. 1999)
    Sharon A. Prince, Plaintiff-Appellee,v.Jan Hicks, individually and in her official capacity as  Assistant District Attorney General, Defendant-Appellant,James Hazelhurst, individually and in his official capacity, Defendant.
    No. 98-5782
    UNITED STATES COURT OF APPEALS  FOR THE SIXTH CIRCUIT
    Argued: June 11, 1999Decided and Filed: December 2, 1999
    
      Appeal from the United States District Court  for the Eastern District of Tennessee at Knoxville, No. 97-00616--James H. Jarvis, District Judge.[Copyrighted Material Omitted]
      Peter  Alliman, WHITE, CARSON, &amp; ALLIMAN, Madisonville, Tennessee, for Appellee.
      Heather C. Ross, OFFICE OF THE ATTORNEY GENERAL, Nashville, Tennessee, for Appellant.
      Before: KEITH, DAUGHTREY , and MOORE , Circuit Judges.
      OPINION
      KAREN NELSON MOORE, Circuit Judge.
    
    
      1
      Sharon Prince brought this 42 U.S.C. §1983 suit against Jan Hicks and  others for alleged violations of her rights under the First, Fourth, Fifth, Eighth, and Fourteenth Amendments. Prince was  arrested and detained for allegedly kidnaping her infant grandson. Hicks, a state prosecutor, filed a motion to dismiss  Prince's §1983 suit for failure to state a claim, asserting absolute immunity. The district court divided Prince's complaint  into eight "functional categories," granted Hicks's motion with respect to six, and denied her motion with respect to two.  Hicks appeals the district court's decision on the two "functional categories" for which absolute immunity was denied. For  the reasons set forth below, we AFFIRM the district court's denial of absolute immunity for these two categories.
    
    I. JURISDICTION
    
      2
      We generally lack jurisdiction over a district court's decision not to dismiss a suit for failure to state a claim. However,  when a motion to dismiss is based on a state official's assertion of absolute immunity, a district court's denial of that motion  is an immediately appealable collateral order. See Nixon v. Fitzgerald, 457 U.S. 731, 742 (1982); Cohen v. Beneficial  Indus. Loan Corp., 337 U.S. 541 (1949); Cullinan v. Abramson, 128 F.3d 301, 307 (6th Cir. 1997), cert. denied, 523 U.S. 1094, 118 S. Ct. 1560 (1998). Absolute immunity shields specific public officials from the burdens of certain lawsuits, and a  denial of immunity is thus effectively unreviewable if review is deferred until final judgment.
    
    II. BACKGROUND
    
      3
      The issue in this case is whether Hicks can meet her burden under Federal Rule of Civil Procedure 12(b)(6) of showing  that absolute immunity is justified for each of Prince's claims. Therefore, we must "make two important assumptions about  the case: first, that petitioner's allegations are entirely true; and, second, that they allege constitutional violations for which  §1983 provides a remedy. [The following] statement of facts is therefore derived entirely from [Prince's] complaint and is  limited to matters relevant to [Hicks's] claim to absolute immunity."  Buckley v. Fitzsimmons, 509 U.S. 259, 261 (1993).
    
    
      4
      Plaintiff-Appellee Prince is the wife of Roland Prince, former Chancellor for the Seventh Judicial District in Tennessee.  During the relevant period of time, Defendant-AppellantHicks was the Assistant District Attorney General. Both Sharon  Prince and her husband publicly criticized the work of the District Attorney General's office and supported, in both primary  and general elections, opposition candidates for the position of District Attorney General. Prince states that as a result of  this public criticism Hicks developed animosity towards Prince and her husband.
    
    
      5
      In early 1996, Prince became concerned with the well being and care of her grandson, Chase Lankford, because of drug  use by the child's parents, Sherry and Gerald Lankford. Prince agreed to take physical custody of Chase while Sherry  entered into treatment for her drug problems. On or about August 19, 1996, the Lankfords contacted Prince demanding  return of the child. Sherry had not entered drug treatment and the couple appeared intoxicated at the time. Fearing that the  couple would take the child and leave the state, Prince sought an emergency protective custody order from the Juvenile  Court for Knox County, Tennessee.
    
    
      6
      The Lankfords contacted Hicks about Prince's retention of the child. Hicks and another defendant, Anderson County  detective Hazelhurst, pursued the Lankfords' complaint. An affidavit of arrest was eventually prepared by either Hicks or  Hazelhurst, which was then presented to Criminal Court Judge Buddy Scott. Based on the facts as they were presented to  Judge Scott, he approved the issuance of an arrest warrant. After signing the warrant, Judge Scott apparently came upon  other facts that led him to order that Prince be released on her own recognizance as soon as she turned herself in.
    
    
      7
      Hicks apparently waited for Judge Scott to leave for the day, and then contacted Chancellor William Lantrip and  requested an order that Prince be held without bond. Hicks did not tell Chancellor Lantrip of Judge Scott's decision. After  Prince turned herself in, she was held pending a bond hearing before Chancellor Lantrip. Prince was then forced to testify  before Chancellor Lantrip in handcuffs and shackles. At the hearing, Chancellor Lantrip ordered that Prince be released.  Prince was returned to a cell, however, and was not released until Chancellor Lantrip personally intervened. Hicks and  other defendants continued to threaten Prince with prosecution and offered Prince a plea bargain if she would execute a  release for any liability related to the arrest and charges brought against her. Hicks and other defendants also threatened to  instigate media coverage of the arrest. Prince refused to sign an agreement. The case was finally dismissed, but Hicks  warned Prince that the charges could be reinstated.
    
    
      8
      Prince brought this 42 U.S.C. §1983 action for damages against Hicks and other defendants alleging violations of her  rights under the First, Fourth, Fifth, Eighth, and Fourteenth Amendments. She also sought punitive damages. Hicks moved,  pursuant to Federal Rule of Civil Procedure 12(b)(6), to dismiss all of Prince's claims against her for "failure to state a  claim upon which relief can be granted." Hicks asserted absolute immunity to all of Prince's claims.
    
    
      9
      The district court divided Prince's claims against Hicks into eight "functional categories." See Joint Appendix ("J.A.") at  91 (Mem. Op.). The district court granted Hicks's motion with respect to six of Prince's claims, but denied Hicks's motion  with respect to two of the claims. Those claims are the "claims for relief ... against [Hicks] in her individual capacity  arising out of [Hicks's] alleged investigation of, or failure to investigate adequately, criminal charges against [Prince], and  [Hicks's] alleged advice to law enforcement officers concerning the existence of probable cause to arrest or to charge a  criminal offense in the plaintiff's case." J.A. at 111 (Order). Hicks appealed the denial of her motion with respect to these  two claims. No other claims are at issue on this appeal.
    
    III. ANALYSIS
    A. Standard of Review
    
      10
      We review de novo a dismissal pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon  which relief can be granted, construing the complaint in the light most favorable to the plaintiff and accepting as true all  well-pleaded factual allegations. Merriweather v. City of Memphis, 107 F.3d 396, 398 (6th Cir. 1997). "The claim should  not be dismissed unless it appears beyond doubt that plaintiff can prove no set of facts in support of [her] claim which  would entitle [her] to relief." Joseph v. Patterson, 795 F.2d 549, 551 (6th Cir. 1986), cert. denied, 481 U.S. 1023 (1987).
    
    
      11
      The Supreme Court has repeatedly endorsed a "functional approach" to determine whether a prosecutor is entitled to  absolute immunity. Buckley, 509 U.S. at 269. This approach looks to "the nature of the function performed, not the identity  of the actor who performed it." Id. (quoting Forrester v. White, 484 U.S. 219, 229 (1988)). The Court has also explained  that "the official seeking absolute immunity bears the burden of showing that such immunity is justified for the function in  question."  Burns v. Reed, 500 U.S. 478, 486 (1991).
    
    B. Investigation
    
      12
      Hicks argues that the district court erred when it concluded that she was not protected by absolute immunity with respect  to claims made by Prince in ¶13 of the amended complaint. Paragraph 13 reads, in part:
    
    
      13
      After the Lankfords contacted Hicks, she and Defendant Hazelhurst, an Anderson County detective, undertook to  perform an investigation of the circumstances surrounding the Lankfords [sic] complaints or, alternatively, performed  no investigation or a grossly inadequate investigation. Prior to the establishment of any probable cause whatsoever  for the arrest or charging of the Plaintiff with a crime, the Defendants knew or should have known that the Plaintiff  had applied for an emergency protective custody order with the Juvenile Court for Knox County, Tennessee, were  aware or should have been aware of the circumstances surrounding Plaintiff's taking physical custody of the child and  were aware or should have been aware that there was no probable or justifiable cause to believe Plaintiff had  committed or was committing a crime.
    
    
      14
      J.A. at 31-32 (Am. Compl. at ¶13).
    
    
      15
      A prosecutor is entitled to absolute immunity when that prosecutor acts "as an advocate for the State" and engages in  activity that is "intimately associated with the judicial phase of the criminal process." Imbler v. Pachtman, 424 U.S. 409,  430-31 (1976); see also Burns v. Reed, 500 U.S. 478, 491 (1991) (quoting Imbler, 429 U.S. at 430-31). The Supreme Court  has explained, however, that "[a] prosecutor's administrative duties and those investigatory functions that do not relate to an  advocate's preparation for the initiation of a prosecution or for judicial proceedings are not entitled to absolute immunity." Buckley, 509 U.S. at 273. For example, a prosecutor who "performs the investigative functions normally performed by a  detective or police officer" such as "searching for the clues and corroboration that might give him probable cause to  recommend that a suspect be arrested" is entitled only at most to qualified immunity. Id. Therefore, we must determine  whether Hicks has allegedly engaged in preliminary conduct that is simply administrative or investigative in nature or  whether she has engaged in conduct that is actually part of her function as an advocate for the state.
    
    
      16
      Hicks argues that she is entitled to absolute immunity based on our decision in Grant v. Hollenbach, 870 F.2d 1135 (6th  Cir. 1989), a case in which we concluded that prosecutors were protected by absolute immunity even though they had failed  to investigate adequately the charges that eventually formed the basis of a criminal complaint. The plaintiff in Grant had  been indicted on sexual abuse charges, but the charges were later dismissed. One of the allegations in the plaintiff's  complaint stated that the prosecutors "failed to conduct an objective and impartial investigation as to the charge, and the  credibility and competency of the accusers." Id. at 1136 (citing the complaint). The court noted that "[t]his is not a case in  which the prosecutor allegedly violated plaintiff's or another's constitutional rights through actual investigation" and  concluded that the complaint was properly dismissed on absolute immunity grounds because "the decision of the  prosecutors to investigate a serious criminal charge [as opposed to an actual investigation] is protected by absolute  immunity." Id. at 1138-39 (emphasis in original).
    
    
      17
      The allegations in Grant, however, are not analogous to the allegations made in the present case because Prince has  alleged that Hicks violated her constitutional rights when she "undertook to perform an investigation." J.A. 31 (Am.  Compl. at ¶13). Furthermore, we do not believe that the court's distinction in Grant between a prosecutor who simply  decides whether to initiate an investigation and a prosecutor who actually participates in an investigation holds up after the  Supreme Court's decisions in Burns and Buckley. In Buckley, the Supreme Court explained that a prosecutor who performs  functions typically undertaken by a police officer or detective, e.g., actively gathering evidence or deciding whether to  follow up on an investigative lead, is not entitled to absolute immunity if the prosecutor performs these functions outside  his actions as an advocate for the state. Buckley, 509 U.S. at 273-74. By contrast, a prosecutor who "evaluat[es] evidence  and interview[s] witnesses as he prepares for trial" is protected by absolute immunity. Id. at 273.
    
    
      18
      The line between conduct that is part of a preliminary investigation and conduct that is intimately associated with the  judicial phase of a criminal proceeding is difficult to draw in some cases. See, e.g., Burns, 500 U.S. at 495 ("Almost any  action by a prosecutor, including his or her direct participation in purely investigative activity, could be said to be in some  way related to the ultimate decision whether to prosecute, but we have never indicated that absolute immunity is that  expansive."). Nevertheless, the approach endorsed by the Supreme Court in Burns and Buckley requires a court to focus on  the specific conduct at issue in a case and determine whether a prosecutor was acting as an advocate for the state or whether  she was simply engaging in preparatory conduct and performing administrative or investigative functions. Indeed, although  prosecutors generally are not absolutely immune when they engage in administrative or investigative acts, the absolute  immunity question nonetheless turns on the specific circumstances of the case. See Ireland v. Tunis, 113 F.3d 1435, 1447  (6th Cir.) ("Absolute prosecutorial immunity will likewise attach to administrative or investigative acts necessary for a  prosecutor to initiate or maintain the criminal prosecution.") (footnote omitted), cert. denied, 118 S. Ct. 560 (1997); Guzman-Rivera v. Rivera-Cruz, 55 F.3d 26, 29 (1st Cir. 1995) ("[A]bsolute immunity may attach even to ... administrative  or investigative activities when these functions are necessary so that a prosecutor may fulfill his function as an officer of  the court.") (emphasis in original) (quoting Pfeiffer v. Hartford Fire Ins. Co., 929 F.2d 1484, 1490 (10th Cir. 1991)).
    
    
      19
      Based on this approach, we believe that Hicks is not entitled to absolute immunity with respect to the allegations in ¶13 becausethese allegations refer to conduct that occurred while Hicks performed administrative and investigative functions  that were not intimately associated with the judicial phase of the criminal proceedings. In her amended complaint, Prince  claims that Hicks engaged in unconstitutional conduct when she "undertook to perform an investigation of the  circumstances surrounding [the daughter and son-in-law's] complaints or, alternatively, performed no investigation or a  grossly inadequate investigation." J.A. at 31 (Am. Compl. at ¶13). Because Hicks has failed to meet her burden to show  that the alleged investigation or failure to investigate was intimately associated with the judicial phase of the criminal  process, the district court properly refused to dismiss the allegations contained in ¶13 of the amended complaint on  absolute immunity grounds. See, e.g., Buckley, 509 U.S. at 274 ("A prosecutor neither is, nor should consider himself to be,  an advocate before he has probable cause to have anyone arrested."); Ireland, 113 F.3d at 1447 n.7 ("Conducting a  preliminary investigation is generally removed from a prosecutor's role in a judicial proceeding; 'such investigations take  place outside the adversarial arena with its attendant safeguards that provide real and immediate checks to abusive  practices.'") (citation omitted).
    
    C. Advice to Police Officer
    
      20
      Hicks also argues that the district court erred when it determined that she was not protected by absolute immunity with  respect to some of the allegations in ¶14 of Prince's amended complaint. This paragraph reads:
    
    
      21
      Even though whatever investigation, if any was done, revealed no, or would have revealed no, probable cause to issue  an arrest warrant, the Defendant Hicks either prepared or caused to be prepared the affidavit of arrest for Plaintiff  knowing there was no probable cause for the arrest warrant to issue or recklessly determining there was probable  cause. Alternatively, Defendant Hicks gave legal advice to Defendant Hazelhurst that there was probable cause for  the warrant to issue and he, in turn, executed the warrant in reliance, in whole or in part, on that advice.
    
    
      22
      J.A. at 32 (Am. Compl. at ¶14). The district court granted Hicks absolute immunity for the conduct complained of in the  first sentence of the paragraph -- Hicks personally preparing or causing to be prepared the affidavit of arrest. See J.A. at 98  (Mem. Op.) (citing Kalina v. Fletcher, 522 U.S. 118, ---, 118 S. Ct. 502, 509 (1997)). See also Ireland, 113 F.3d at  1446-47; Joseph, 795 F.2d at 555. Relying on Burns v. Reed, 500 U.S. at 478, however, the district court denied Hicks  absolute immunity for the alleged conduct of advising Hazelhurst that there was probable cause to arrest.
    
    
      23
      In Burns, two police officers investigating a shooting of two boys suspected that the mother had multiple personalities  and may have been responsible for the crime. The two officers contacted the chief deputy prosecutor to inquire as to the  legality of subjecting the mother to hypnosis. The prosecutor advised the police officers that they could proceed. After the  hypnosis session, upon hearing the statements the mother had made, the prosecutor advised the officers that they "probably  had probable cause" to arrest the mother. See id. at 482. The Supreme Court held that "advising the police in the  investigative phase of a criminal case is [not] so 'intimately associated with the judicial phase of the criminal process' that it  qualifies for absolute immunity." Id. at 493 (citation omitted). The Court added, "it is incongruous to allow prosecutors to be absolutely immune from liability for giving advice to the police, but to allow police officers only qualified immunity for  following the advice." Id. at 495.
    
    
      24
      We conclude that Prince's crafting of the second sentence of ¶14, alleging facts in the alternative, fits her claim withinthe holding of Burns. Prince argues that Hicks "gave legal advice" to Hazelhurst. It is important to note that simply alleging  that a prosecutor gave legal advice is not necessarily sufficient to survive an assertion of absolute immunity. To fall outside  the prosecutor's function as an advocate for the state, the legal advice must have been given as part of the investigative or  administrative phase of the criminal case. It is not enough for Prince to argue that Hicks "gave legal advice" to Hazelhurst,  if Hicks can still show that her "advice" was simply part of her preparation for initiation of prosecution against Prince.  "Absolute prosecutorial immunity [attaches] to administrative or investigative acts necessary for a prosecutor to initiate or  maintain the criminal prosecution." Ireland, 113 F.3d at 1447 (footnote omitted).1 Thus, "[a] prosecutor's decision to file  a criminal complaint and seek an arrest warrant and the presentation of these materials to a judicial officer fall squarely  within the aegis of absolute prosecutorial immunity." Id. at 1446.
    
    
      25
      Prince alleges here, however, that "Defendant Hicks gave legal advice to Defendant Hazelhurst that there was probable  cause for the warrant to issue." J.A. at 32 (Am. Compl. at ¶14). Further reading this claim as part of ¶14 in its entirety, we  think it is clear that Prince is also claiming that Hicks gave this legal advice before probable cause to arrest Prince existed.  Indeed, Prince alleges in ¶14 that probable cause to arrest her never existed. As we noted above, the Supreme Court wrote  in Buckley that "[a] prosecutor neither is, nor should consider himself to be, an advocate before he has probable cause to  have anyone arrested." Buckley, 509 U.S. at 274. It is important to read this sentence in the context of the Buckley decision  in its entirety. A footnote in Buckley following the above-quoted sentence clarifies a point that Prince fails to recognize. A  prosecutor performing an investigative function before she has probable cause to arrest a suspect cannot expect to receive  the protection of absolute immunity, but a prosecutor who initiates criminal proceedings against a suspect whom she had no  probable cause to prosecute is protected by absolute immunity. See Buckley, 509 U.S. at 274 n.5 (explaining that "there is  no [anomaly] in denying absolute immunity for a state actor's investigative acts made before there is probable cause to have  a suspect arrested just because a prosecutor would be entitled to absolute immunity for the malicious prosecution of  someone whom he lacked probable cause to indict") (citation omitted). The dividing line is not, as Prince argues, the point  of determination of probable cause. Instead, the dividing line is the point at which the prosecutor performs functions that  are intimately associated with the judicial phase of the criminal process. Nevertheless, Prince's complaint suffices to avoid  a Rule 12(b)(6) dismissal on absolute immunity grounds at this stage. The complaint, read in the light most favorable to Prince, alleges that Hicks gave Hazelhurst advice as to probable cause and Hazelhurst acted on it. Although the next few  paragraphs of the complaint characterize Hicks and Hazelhurst as together initiating criminal proceedings against Prince,  the complaint can be read to allege that Hicks gave Hazelhurst legal advice prior to the existence of probable cause and  prior to Hicks's determination that she would initiatecriminal proceedings against Prince. Hazelhurst then "executed the  warrant in reliance, in whole or in part, on that advice." J.A. at 32 (Am. Compl. at ¶14). At the time this advice was given,  Hicks would not have been acting as an advocate for the state.
    
    
      26
      Hicks argues that Burns does not apply to this case because the advice given in Burns was with respect to a warrantless  arrest, whereas here the alleged advice was with respect to the drafting of a warrant that was then brought before, and  authorized by, a qualified judicial officer. The determinative question, however, is whether the advice was given as part of  the investigative function in the criminal inquiry. We find no support in Burns for a bright-line rule that advice leading to a  warrantless arrest is always in the performance of an investigative function, while advice leading to the drafting of an arrest  warrant that is then brought before a judicial officer is always in the performance of an advocacy function. While these  facts, when further developed, could support an argument that Hicks was simply taking a necessary step in the initiation of  criminal proceedings when she allegedly gave advice to Hazelhurst, see Ireland, 113 F.3d at 1447, this is not the  factfinding stage.
    
    
      27
      Considering Prince's complaint in the light most favorable to her, we believe the complaint could properly be read to  allege that Hicks gave legal advice to Hazelhurst in the performance of an investigative function that had only an attenuated  connection to the judicial phase of the criminal process, and we therefore affirm the district court in denying Hicks absolute  immunity under the alternative claim in ¶14 of Prince's complaint.
    
    IV. CONCLUSION
    
      28
      Because Prince has alleged that Hicks violated her constitutional rights while engaging in conduct that is not intimately  associated with the judicial phase of a criminal proceeding, Hicks is not entitled to absolute immunity with respect to the  claims in ¶13 as well as the claims in ¶14 relating to the legal advice Hicks allegedly gave defendant Hazelhurst. Thus, we AFFIRM the district court's denial of absolute immunity with respect to these claims in this case.
    
    
      
        Note:
      
      
        1
          The district court read this quote from Ireland broadly and declared that it was inconsistent with the Supreme Court's  holding in Buckley. We noted in Ireland, however, the limited reach of our statement. See Ireland, 113 F.3d at 1447 n.7.  Moreover, our point was derived directly from the Supreme Court's holding in Imbler, as later clarified in Burns and Buckley. Supreme Court precedent makes clear that not all investigatory functions performed by a prosecutor are outside  the umbrella of absolute immunity, but only "those investigatory functions that do not relate to an advocate's preparation for  the initiation of a prosecution or for judicial proceedings." Buckley, 509 U.S. at 273.
      
    
    